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CLERKS OFFICE U.S. DIST. COURT
IN THE UNITED STATES DISTRICT COURT AT ABINGDON, VA

FOR THE WESTERN DISTRICT OF VIRGINIA FILED
ABINGDON DIVISION April 11, 2025

LAURA A AUSTIN, CLERK

BY: s/ FELICIA CLARK
KYMBERLY HOBBS,

DEPUTY CLERK
ADMINISTRATOR OF THE
ESTATE OF CHARLES JAMES
GIVENS, DECEASED,
Plaintiff, Case No. 1:23CV00003
V. JUDGMENT

ANTHONY RAYMOND KELLY,
ET AL.,

JUDGE JAMES P. JONES

New None None Nene Ne Nee Nee Nee Nee ee Nee eee” nee ee”

Defendants.

This action came before the Court for a trial by jury. The issues have been
tried and the jury has rendered its verdict. It is ORDERED AND ADJUDGED that

in accordance with the jury verdict, judgment is granted in favor of all defendants.

The Clerk shall close the case.

ENTER: April 11, 2025

/s/_ JAMES P. JONES
Senior United States District Judge

